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     Attorneys for Robert Hunter Biden
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16                        UNITED STATES DISTRICT COURT
17                      CENTRAL DISTRICT OF CALIFORNIA
18   UNITED STATES                               Case No. 2:23-CR-00599-MCS-1
19                     Plaintiff,                Hon. Mark C. Scarsi
20         vs.                                   DECLARATION OF MARK
21   ROBERT HUNTER BIDEN,                        GERAGOS AND SUPPORTING
                                                 EXHIBITS
22                     Defendant.
                                                   Date: August 5, 2024
23                                                 Time: 3:00 p.m.
                                                   Place: Courtroom 7C
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                                    DECLARATION OF MARK GERAGOS
                                    CASE NO. 2:23-CR-00599-MCS-1
 1
                          DECLARATION OF MARK J. GERAGOS
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 3
             I, Mark J. Geragos, declare as follows:
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             1.     I am the Principal of Geragos & Geragos APC, counsel for Defendant
 5
     Robert Hunter Biden in the above-captioned matter. I am licensed to practice before
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     all of the Courts of the State of California and am admitted to practice before the
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     United States District Court for the Central, Eastern and Northern Districts of
 8
     California. I have personal knowledge of the facts set forth herein and, if called as a
 9
     witness, I could and would testify to such matters.
10
             2.     I submit this declaration in support of Defendant’s motion to dismiss the
11
     indictment for lack of jurisdiction.
12
             3.     Attached hereto as Exhibit A is a true and correct copy of a news article I
13
     accessed online at Politico’s website on July 17, 2024 authored by Betsy Woodruff
14
     Swan and entitled Federal prosecutor to Congress: I didn’t hinder Hunter Biden
15
     probe, available at https://www.politico.com/news/2023/10/27/hunter-biden-tax-
16
     charges-california-00124037.
17
             4.     Attached hereto as Exhibit B is a true and correct copy of a law review
18
     article I accessed online on the Wall Street Journal’s website on July 18, 2024
19
     authored by Brett M. Kavanaugh and entitled The President and the Independent
20
     Counsel,       86     Geo.     L.J.      2133,       2136-37    (1998),    available    at
21
     https://www.wsj.com/public/resources/
22
     documents/2018_0628_kavanaugh_1998_president_independent_counsel.pdf, and on
23
     Westlaw.
24
             5.     Attached hereto as Exhibit C is a true and correct copy of the Office of
25
     the Attorney General Appointment Order of David C. Weiss as Special Counsel,
26
     Order        No.    5730-2023,        available      at   https://www.justice.gov/d9/2023-
27
     08/order.appointment_of_ david_c._weiss_as_special_counsel.pdf.
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                                   DECLARATION OF MARK GERAGOS
                                   CASE NO. 2:23-CR-00599-MCS-1
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           6.     Attached hereto as Exhibit D is a true and correct copy of the Office of
 2
     the Attorney General Appointment Order of John L. Smith as Special Counsel, Order
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     No. 5559-2022 https://www.justice.gov/opa/file/1553901/dl.
 4
           7.     Attached hereto as Exhibit E is a true and correct copy of United States
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     District Judge Aileen Cannon’s July 15, 2024 Order in United States v. Trump, 2024
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     WL 3404555 (S.D. Fla. July 15, 2024), Docket Entry No. 672, which Defendant
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     requests the Court take judicial notice of pursuant to Rule 201 of the Federal Rules of
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     Evidence (a fact may be judicially noticed if it is “not subject to reasonable dispute”
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     because it is either “generally known” within the court's territorial jurisdiction or “can
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     be accurately and readily determined from sources whose accuracy cannot reasonably
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     be questioned.”). See Harris v. Cnty. of Orange, 682 F.3d 1126, 1132 (9th Cir. 2012)
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     (“We may take judicial notice of undisputed matters of public record, Lee v. City of
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     Los Angeles, 250 F.3d 668, 689 (9th Cir.2001), including documents on file in federal
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     or state courts.”); United States ex rel. Robinson Rancheria Citizens Council v.
15
     Borneo, 971 F.2d 244, 248 (9th Cir.1992) (“[W]e ‘may take notice of proceedings in
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     other courts, both within and without the federal judicial system, if those proceedings
17
     have a direct relation to matters at issue.”’).
18
           I declare under penalty of perjury according to the laws of the United States of
19
     America that the foregoing is true and correct based on my personal knowledge.
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           Executed on this 18th day of July, 2024 in New York, New York.
21
22                                             /s/ Mark Geragos
23                                             MARK GERAGOS

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                                   DECLARATION OF MARK GERAGOS
                                   CASE NO. 2:23-CR-00599-MCS-1
 1                              CERTIFICATE OF SERVICE
 2         I hereby certify that on July 28, 2024, I filed the foregoing Declaration of Mark
 3   Geragos and Supporting Exhibits with the Clerk of Court using the CM/ECF system,
 4   which will send a notification of such filing to all counsel of record.
 5
 6                                                   /s/ Mark Geragos
                                                     Mark Geragos
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                                                     Counsel for Robert Hunter Biden
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                                  DECLARATION OF MARK GERAGOS
                                  CASE NO. 2:23-CR-00599-MCS-1
